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                                                         9   OMNIVERSE ONE WORLD TELEVISION,
                                                             INC. and JASON M. DEMEO
                                                        10                       UNITED STATES DISTRICT COURT
                                                        11                      CENTRAL DISTRICT OF CALIFORNIA
                                                        12    PARAMOUNT PICTURES                 CASE NO. 2:19-cv-01156
                                                        13    CORPORATION; COLUMBIA
T R OJ A N L A W O FFICE S




                                                              PICTURES INDUSTRIES, INC.;         DEFENDANTS’ NOTICE OF MOTION
                             B E V E R L Y H I L LS




                                                        14    DISNEY ENTERPRISES, INC.;          AND MOTION:
                                                        15    TWENTIETH CENTURY FOX
                                                              FILM CORPORATION; WARNER           (1) TO SEVER FOR IMPERMISSIVE
                                                        16    BROS ENTERTAINMENT, INC.;              JOINDER OF PARTY PLAINTIFFS;
                                                        17    UNIVERSAL CITY STUDIOS
                                                              PRODUCTIONS LLLP;                  (2) FOR MORE DEFINITE
                                                        18    UNIVERSAL TELEVISION LLC;              STATEMENT; and,
                                                        19    and UNIVERSAL CONTENT
                                                              PRODUCTIONS LLC,                   (3) TO STRIKE SCANDALOUS AND
                                                        20                                           IMMATERIAL PORTIONS OF THE
                                                        21                  Plaintiffs,              COMPLAINT.
                                                                  v.
                                                        22                                       Hon. Dolly M. Gee
                                                              OMNIVERSE ONE WORLD
                                                        23    TELEVISION, INC.; JASON M.
                                                              DEMEO,                             Hearing Date: May 24, 2019
                                                        24                                       Time: 9:30 a.m.
                                                        25                  Defendants.          Courtroom: 8C
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                                                 1   TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
                                                 2         PLEASE TAKE NOTICE that on May 24, 2019 at 9:30 a.m. or as soon
                                                 3   thereafter as the matter may be heard by the Hon. Dolly M. Gee in the above-entitled
                                                 4   Court, Defendants Omniverse One World Television, Inc. and Jason M. Demeo
                                                 5   (“Omniverse”) will and hereby do move the Court, pursuant to Federal Rule of Civil
                                                 6   Procedure 21, for an order to dismiss all plaintiffs except for the lead plaintiff
                                                 7   Paramount Pictures Corporation for impermissive joinder of party plaintiffs on the
                                                 8   grounds that Plaintiffs have not stated a right to relief arising out of the same
                                                 9   transaction, occurrence, or series of transactions or occurrences.
                                                10         PLEASE TAKE FURTHER NOTICE that at the time and place noted
                                                11   above, Omniverse will and hereby does move the Court, pursuant to Fed. R. Civ. P.
                                                12   12(e), for an order directing Plaintiffs to file a more definite statement on the ground
                                                13   that Omniverse cannot reasonably frame a responsive pleading.
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                                                14         PLEASE TAKE FURTHER NOTICE that at the time and place noted
                                                15   above, Omniverse will and hereby does move the Court, pursuant to Fed. R. of Civil
                                                16   P. 12(f), for an order striking paragraphs 1, 3, 30, and 37 and footnote 1 of paragraph
                                                17   1 of Plaintiffs’ complaint on the grounds that the materials are scandalous and
                                                18   immaterial.
                                                19         Pursuant to Local Rule 7-3 and the Court’s Standing Order, the parties met and
                                                20   conferred in good faith on April 2, 2019.
                                                21         The Motion is based upon (1) this Notice of Motion and Motion, (2) the
                                                22   accompanying Memorandum of Points and Authorities, (3) the Declaration R. Joseph
                                                23   Trojan and exhibits thereto, all pleadings and papers on file in this action, and upon
                                                24   such other matters as may be presented to the Court at the time of the hearing.
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                                                 1                                     Respectfully submitted,

                                                 2                                     TROJAN LAW OFFICES
                                                 3                                     by

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                                                 5
                                                     April 10, 2019                    /s/R. Joseph Trojan
                                                                                       R. Joseph Trojan
                                                 6                                     Attorney for Defendants,
                                                 7                                     OMNIVERSE ONE WORLD
                                                                                       TELEVISION, INC. and JASON M.
                                                 8                                     DEMEO
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